                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


ANTHONY S. KIDD,                                     )
                                                     )
               Plaintiff,                            )
                                                     )
v.                                                   )       Case. No. 22-3123-JWL-JPO
                                                     )
JEREMY BAKER, et al.,                                )
                                                     )
               Defendants.                           )
                                                     )

                      RESPONSE IN OPPOSITION TO PLAINTIFF’S
                               MOTION FOR ORDER

       Defendants Jeremy Baker, Tyler Jones, Michael Falck, Jason Vsetecka, and (FNU)

Simmons (“Defendants”) submit, through Assistant Attorney General Matthew L. Shoger, this

response in opposition to Plaintiff’s Motion for Order (titled Motion to the Court to Provide

Plaintiff with All Camera Videos, Doc. 21).

       In Plaintiff’s Motion for Order, Plaintiff motioned the Court to “view all camera video”

(Doc. 21 at 3). Plaintiff’s Motion for Order is now moot. On November 10, 2022, Plaintiff viewed

the only video of the incident. This is verified by the attached affidavit (Exhibit 1 – Affidavit of

Larry Johnson) completed by the unit team member who supervised the viewing. Plaintiff will

additionally be allowed to watch the video again in the future upon written request to KDOC. To

the extent that Plaintiff claims that handheld camera videos of the incident exist and have been

withheld from him (Doc. 20 at 4, 6; Doc. 21 at 2-3; Doc. 23 at 1), Defendants submit that Plaintiff

has viewed all videos of the incident, and despite Plaintiff’s claims otherwise, such handheld

camera videos do not exist. The surveillance camera video in Exhibit 15 of the Martinez Report

clearly shows that no handheld camera was used.
   Because Plaintiff has viewed all existing video evidence of the incident in question, Defendants

request that the Court deny Plaintiff’s Motion for Order as moot.



                                             Respectfully submitted,

                                             OFFICE OF ATTORNEY GENERAL
                                             DEREK SCHMIDT

                                             /s/ Matthew L. Shoger
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                                             Attorney for KDOC Defendants
                                CERTIFICATE OF SERVICE

        I hereby certify that on this 23rd day of November, 2022, the foregoing document was filed
with the clerk of the court by using the CM/ECF system, which will send notice of electronic filing
to the following:

       Jon D. Graves
       Hutchinson Correctional Facility
       PO Box 1568
       Hutchinson, KS 67504-1568
       jon.graves@ks.gov
       Attorney for Hutchinson Correctional Facility, Interested Party

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       Attorney for Kansas Department of Corrections, Interested Party

I also certify that a copy of the above was served by means of first-class mail, postage prepaid,
addressed to:

       Anthony S. Kidd, #93399
       EL DORADO Correctional Facility-Central
       PO Box 311
       El Dorado, KS 67042
       Plaintiff, pro se

                                             /s/ Matthew L. Shoger
                                             Matthew L. Shoger
                                             Assistant Attorney General
EXHIBIT 1
